     Case: 1:15-cv-04127 Document #: 36 Filed: 05/24/16 Page 1 of 17 PageID #:59




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Catherine Brown, individually, and as              )
next friend of the minors G.B. and T.B.,           )
                                                   )    Case No.: 15 cv 4127
      Plaintiffs,                                  )
                                                   )    FIRST AMENDED
               v.                                  )    COMPLAINT FOR VIOLATION OF
                                                   )    CIVIL RIGHTS
Police Officers Michelle Morsi, Jose               )
Lopez, Jason Vanna, J.R. Hickey, Star              )
No. 11523, L.F. Hill, Star No. 16047, J.M.         )    JUDGE BLAKEY
Daisy, Star No. 10982, Navia, Star No.             )
7390, McMahon Star No. 17102, Ho Star              )
No. 7995, Chevelier Star No. 7206, John            )
Blahusiak, Detective Michelle Moore-               )    JURY DEMANDED
Grose, Detective William Sullivan,                 )
Detective Bryan Neely, Sgt. Durham Star            )
No. 1803, Sgt. J. Brown Star No. 1133,             )
Sgt. Greer, Star No. 1316, Sgt. R. Blas,           )
Star No. 1248, and the City of Chicago,

      Defendants.


                                  JURISDICTION AND VENUE

        1.      This action arises under the United States Constitution and the Civil Rights Act of

1871 (42 U.S.C. Section 1983). This court has jurisdiction under and by virtue of 28 U.S.C.

Sections 1343 and 1331 and 1367.

        2.      Venue is founded in this judicial court upon 28 U.S.C. Section 1391 as the acts

complained of arose in this district.

                                               PARTIES

        3.      At all times herein mentioned, Plaintiff Catherine Brown (“Brown”) was and is a

citizen of the United States, and was within the jurisdiction of this court.

        4.      Brown is the mother and a custodial parent of the minors G.B. and T.B.
     Case: 1:15-cv-04127 Document #: 36 Filed: 05/24/16 Page 2 of 17 PageID #:60




        5.         At all times herein mentioned, Plaintiff G.B. was a minor born in 2004, was and is a

citizen of the United States, and was within the jurisdiction of this court. Brown is acting as her

next friend.

        6.         At all times herein mentioned, Plaintiff T.B. , a minor born in November 2011, was

and is a citizen of the United States, and was within the jurisdiction of this court. Brown is acting as

her next friend.

        7.         At all times herein mentioned, Defendant Chicago Police Officer Michelle Morsi,

(“Morsi”) was employed by the Chicago Police Department, and was acting under color of state

law and as the employee, agent, or representative of the Chicago Police Department. This

Defendant is being sued in their individual capacity.

        8.         At all times herein mentioned, Defendant Chicago Police Officer Jose Lopez

(“Lopez”) was employed by the Chicago Police Department, and was acting under color of state

law and as the employee, agent, or representative of the Chicago Police Department. This

Defendant is being sued in their individual capacity.

        9.         At all times herein mentioned, Defendant Chicago Police Officer Jason Vanna

(“Vanna”) was employed by the Chicago Police Department, and was acting under color of state

law and as the employee, agent, or representative of the Chicago Police Department. This

Defendant is being sued in their individual capacity.

        10.        At all times herein mentioned, Defendant Chicago Police Officer J.R. Hickey,

Star No. 11523(“Hickey”) was employed by the Chicago Police Department, and was acting

under color of state law and as the employee, agent, or representative of the Chicago Police

Department. This Defendant is being sued in their individual capacity.




                                                                                                        2
    Case: 1:15-cv-04127 Document #: 36 Filed: 05/24/16 Page 3 of 17 PageID #:61




       11.     At all times herein mentioned, Defendant Chicago Police Officer L.F. Hill, Star

No. 16047 (“Hill”) was employed by the Chicago Police Department, and was acting under color

of state law and as the employee, agent, or representative of the Chicago Police Department.

This Defendant is being sued in their individual capacity.

       12.     At all times herein mentioned, Defendant Chicago Police Officer J.M. Daisy, Star

No. 10982 (“Daisy”) was employed by the Chicago Police Department, and was acting under

color of state law and as the employee, agent, or representative of the Chicago Police

Department. This Defendant is being sued in their individual capacity.

       13.     At all times herein mentioned, Defendant Chicago Police Officer Navia, Star No.

7390 (“Navia”) was employed by the Chicago Police Department, and was acting under color of

state law and as the employee, agent, or representative of the Chicago Police Department. This

Defendant is being sued in their individual capacity.

       14.     At all times herein mentioned, Defendant Chicago Police Officer McMahon, Star

No. 17102, (“McMahon”) was employed by the Chicago Police Department, and was acting

under color of state law and as the employee, agent, or representative of the Chicago Police

Department. This Defendant is being sued in their individual capacity.

       15.     At all times herein mentioned, Defendant Chicago Police Officer Ho, Star No.

7995, (“Ho”) was employed by the Chicago Police Department, and was acting under color of

state law and as the employee, agent, or representative of the Chicago Police Department. This

Defendant is being sued in their individual capacity.

       16.     At all times herein mentioned, Defendant Chicago Police Officer Chevelier, Star

No. 7206, (“Chevelier”) was employed by the Chicago Police Department, and was acting under




                                                                                                 3
    Case: 1:15-cv-04127 Document #: 36 Filed: 05/24/16 Page 4 of 17 PageID #:62




color of state law and as the employee, agent, or representative of the Chicago Police

Department. This Defendant is being sued in their individual capacity.

       17.     At all times herein mentioned, Defendant Chicago Police Officer John Blahusiak,

(“Blahusiak”) was employed by the Chicago Police Department, and was acting under color of

state law and as the employee, agent, or representative of the Chicago Police Department. This

Defendant is being sued in their individual capacity.

       18.     At all times herein mentioned, Defendant Chicago Police Detective Michelle

Moore-Grose (“Moore-Grose”) was employed by the Chicago Police Department, and was

acting under color of state law and as the employee, agent, or representative of the Chicago

Police Department. This Defendant is being sued in their individual capacity.

       19.     At all times herein mentioned, Defendant Chicago Police Detective William

Sullivan, (“Sullivan”) was employed by the Chicago Police Department, and was acting under

color of state law and as the employee, agent, or representative of the Chicago Police

Department. This Defendant is being sued in their individual capacity.

       20.     At all times herein mentioned, Defendant Chicago Police Detective Bryan Neely

(“Neely”) was employed by the Chicago Police Department, and was acting under color of state

law and as the employee, agent, or representative of the Chicago Police Department. This

Defendant is being sued in their individual capacity.

       21.     At all times herein mentioned, Defendant Chicago Police Sergeant Durham Star

No. 1803, (“Durham”) was employed by the Chicago Police Department, and was acting under

color of state law and as the employee, agent, or representative of the Chicago Police

Department. This Defendant is being sued in their individual capacity.




                                                                                                 4
    Case: 1:15-cv-04127 Document #: 36 Filed: 05/24/16 Page 5 of 17 PageID #:63




       22.     At all times herein mentioned, Defendant Chicago Police Sergeant J. Brown, Star

No. 1133, (“J. Brown”) was employed by the Chicago Police Department, and was acting under

color of state law and as the employee, agent, or representative of the Chicago Police

Department. This Defendant is being sued in their individual capacity.

       23.     At all times herein mentioned, Defendant Chicago Police Sergeant Greer, Star No.

1316, (“Greer”) was employed by the Chicago Police Department, and was acting under color of

state law and as the employee, agent, or representative of the Chicago Police Department. This

Defendant is being sued in their individual capacity.

       24.     At all times herein mentioned, Defendant Chicago Police Sergeant R. Blas, Star

No. 1248, (“Blas”) was employed by the Chicago Police Department, and was acting under color

of state law and as the employee, agent, or representative of the Chicago Police Department.

This Defendant is being sued in their individual capacity.

       25.     At all times herein mentioned, the City of Chicago was a political division of the

State of Illinois, existing as such under the laws of the State of Illinois. At all relevant times, the

City of Chicago maintained, managed, and/or operated the Chicago Police Department. At all

relevant times the City of Chicago was the employer of all individual defendants.

                                   FACTUAL ALLEGATIONS

       26.     On or about May 13, 2013, Plaintiffs were inside a vehicle legally travelling in an

alley behind their residence located at 8320 S. Kerfoot, Chicago, Illinois in order to park her

vehicle.

       27.     At that place and time Defendants Morsi and Lopez, were located in a police vehicle

traveling in the same alley in the opposite direction of Plaintiffs. They encountered one another

with their vehicles facing each other.




                                                                                                      5
     Case: 1:15-cv-04127 Document #: 36 Filed: 05/24/16 Page 6 of 17 PageID #:64




        28.     At the time Morsi and Lopez first encountered Plaintiffs’ vehicle Morsi and Lopez

were not responding to an emergency, had not activated their siren, and had not activated their

emergency lights located on the roof of their vehicle.

        29.     Morsi and Lopez exited their squad car and approached Plaintiffs’ vehicle on foot.

        30.     There was no legal cause for Morsi or Lopez to approach Plaintiffs’ vehicle.

        31.     After approaching Plaintiffs’ vehicle Morsi made verbal threats towards Plaintiffs

and used profanity.

        32.     After encountering this threatening and unprofessional behavior Plaintiff Brown

called 911 to request assistance from a police supervisor.

        33.     Lopez and Morsi subsequently drew their service weapons and pointed them in the

direction of Plaintiffs.

        34.     There was no legal cause to Lopez or Morsi to point their weapons towards

Plaintiffs.

        35.     Brown perceived this action to be a threat to the safety of her and G.B. and T.B. In

defense of herself and her children, and in order to protect the Plaintiffs from the use of deadly force

Plaintiff Brown backed her vehicle out of the alley to a location proximate to the front of her

residence.

        36.     Plaintiff s’ vehicle stopped at the location on Kerfoot near the front of her residence.

        37.     Morsi intentionally used a Chicago Police Department squad car to strike front of

Plailntiffs’ vehicle by causing the front of the squad car to strike the front of Plaintiffs’ vehicle.

        38.     There was no legal cause for Morsi to intentionally use her vehicle to strike

Plaintiffs’ vehicle.




                                                                                                         6
     Case: 1:15-cv-04127 Document #: 36 Filed: 05/24/16 Page 7 of 17 PageID #:65




        39.     When the squad car operated by Morsi struck Plaintiffs’ vehicle all three Plaintiffs

were still inside their vehicle.

        40.     Morsi was aware that Plaintiffs’ vehicle contained the minor plaintiffs G.B. and T.B

before she used the squad car to strike Plaintiffs’ vehicle.

        41.     The force of the collision caused by the squad car striking Plaintiffs’ vehicle caused

Plaintiffs’ vehicle to be pushed against a parked vehicle on the driver’s side of Plaintiff’s vehicle.

As a result of being pushed against this parked vehicle Plaintiff Brown was not able to fully open

her driver’s side door.

        42.     After intentionally causing the squad car to strike Plaintiffs’ vehicle Morsi exited the

squad car and approached Plaintiffs’ vehicle on foot.

        43.     After approaching Plaintiffs’ partially opened driver’s side door Morsi withdrew her

OC spray canister from her duty belt.

        44.     After withdrawing the OC spray canister Morsi used it to spray Plaintiff s.

        45.     There was no legal cause for Morsi to spray Plaintiffs with OC spray.

        46.     At the time Morsi sprayed Plaintiff Brown she also sprayed Plaintiffs G.B. and T.B

who were still inside Plaintiffs’ vehicle.

        47.     After spraying the Plaintiffs Morsi returned the OC spray canister to her duty belt,

turned her back to Plaintiff s, and walked away from Plaintiffs.

        48.     Morsi returned few seconds later, positioned herself on top of the parked vehicle that

was preventing Plaintiff’s driver’s side door from fully opening.

        49.     From her position on top of the parked vehicle Morsi withdrew her service weapon

and pointed it in the direction of Plaintiffs.




                                                                                                         7
     Case: 1:15-cv-04127 Document #: 36 Filed: 05/24/16 Page 8 of 17 PageID #:66




        50.      At the time Morsi drew her weapon and pointed it at Plaintiffs several other police

officers were surrounding Plaintiffs’ vehicle.

        51.      Morsi was the only police officer that drew her service weapon and pointed it in the

Plaintiffs’ direction.

        52.      At the time Morsi drew her weapon Plaintiffs were not intentionally refusing to

comply with any police orders.

        53.      There was no legal cause for Morsi to point her service weapon at Plaintiffs.

        54.      Brown was then physically grabbed, picked up, and thrown to the ground by

multiple police officers. While on the ground Brown was kicked and struck by multiple police

officers. Thereafter, Brown was placed under arrest.

        55.      After Brown’s arrest she was charged with several criminal offenses.

        56.      Morsi signed a criminal complaint against Brown for the offense of attempted first

degree murder.

        57.      Several Chicago Police Department employees including Defendants created police

reports containing false allegations against Brown.

        58.      As a result of Defendants’ false allegations contained in criminal complaints and

police reports Brown was prosecuted for 8 separate criminal offenses including multiple counts of

attempted murder. Defendants created these false criminal complaints and police reports with the

knowledge that they would be used to support a criminal prosecution of Brown.

        59.      On October 15, 2015, Brown was found not guilty of two counts of attempted

murder of Morsi.

        60.      On October 15, 2015, Brown was found not guilty of two counts of causing great

bodily harm to Morsi.




                                                                                                        8
       Case: 1:15-cv-04127 Document #: 36 Filed: 05/24/16 Page 9 of 17 PageID #:67




         61.     On October 22, 2015, Brown was found not guilty of resisting arrest.

         62.     By reason of the above-described acts and omissions of Defendants, Plaintiffs

sustained injuries, including but not limited to, humiliation and indignities, and suffered great

mental and emotional pain and suffering all to their damage in an amount to be ascertained.

         63.     The aforementioned acts of Defendants were willful, wanton, malicious, oppressive

and done with reckless indifference to and/or callous disregard for Plaintiffs’ rights and justify the

awarding of exemplary and punitive damages in an amount to be ascertained according to proof at

the time of trial.

         64.     By reason of the above-described acts and omissions of Defendants, Plaintiffs were

required to retain an attorney to institute, prosecute and render legal assistance to them in the within

action so that they might vindicate the loss and impairment of their rights. By reason thereof,

Plaintiffs request payment by Defendants, and each of them, of a reasonable sum for attorney’s fees

pursuant to 42 U.S.C. Section 1988, the Equal Access to Justice Act or any other provision set by

law.

                                        COUNT I
   Plaintiff Catherine Brown against Defendants Morsi, Lopez, Vanna, Hickey, Hill, Daisy,
      Navia, McMahon, Ho, Chevelier, Blausiak, Durham, J. Brown, Greer, and Blas for
                                  EXCESSIVE FORCE

         65.     Plaintiffs hereby incorporate and reallege paragraphs one (1) through sixty-four

(64) hereat as though fully set forth at this place.

         66.     By reason of Defendants’ conduct, Plaintiff was deprived of rights, privileges and

immunities secured to her by the Fourth and/or Fourteenth Amendments of the Constitution of

the United States and laws enacted thereunder.

         67.     The arbitrary use of force by Defendants against Plaintiff’s person was in

violation of Plaintiffs’ Constitutional Rights and not authorized by law. These acts were in



                                                                                                         9
    Case: 1:15-cv-04127 Document #: 36 Filed: 05/24/16 Page 10 of 17 PageID #:68




violation of Plaintiff’s Fourth and/or Fourteenth Amendment rights. Therefore, Defendants, and

each of them, in their individual capacity, are liable to Plaintiff pursuant to 42 U.S.C. § 1983.

                                           COUNT II
                      Plaintiffs G.B. and T.B. against Defendant Morsi for
                                      EXCESSIVE FORCE

        68.      Plaintiffs hereby incorporate and reallege paragraphs one (1) through sixty-four

(64) hereat as though fully set forth at this place.

        69.      By reason of Defendant’s conduct, Plaintiffs were deprived of rights, privileges

and immunities secured to them by the Fourth and/or Fourteenth Amendments of the

Constitution of the United States and laws enacted thereunder.

        70.      The arbitrary use of force by Defendant against Plaintiffs was in violation of

Plaintiffs’ Constitutional Rights and not authorized by law. This use of force included

intentionally striking Plaintiffs’ vehicle with a police squad car and spraying them with OC

spray. These acts were in violation of Plaintiffs’ Fourth and/or Fourteenth Amendment rights.

Therefore, Defendant is liable to Plaintiffs pursuant to 42 U.S.C. § 1983



                                              COUNT III
                                     Plaintiffs Against Lopez For
                                    FAILURE TO INTERVENE
        71.      Plaintiffs hereby incorporates and realleges paragraphs one (1) through sixty-four

(64) hereat as though fully alleged at this place.

        72.      Lopez was standing immediately next to Morsi when she removed her OC spray

from her duty belt.

        73.      Lopez was standing immediately next to Morsi when she began spraying Plaintiffs

with OC Spray and remained in that position during the entire time that Morsi sprayed Plaintiffs

with OC spray.



                                                                                                    10
    Case: 1:15-cv-04127 Document #: 36 Filed: 05/24/16 Page 11 of 17 PageID #:69




         74.    Lopez had an opportunity to stop Morsi from spraying Plaintiffs with OC spray

and/or reduce the amount of OC spray deployed at Plalintiffs.

         75.    Lopez did not make any effort to stop Morsi from spraying Plaintiffs with OC spray.

         76.    Instead of intervening to stop or reduce the amount of OC spray deployed Lopez

stood by and laughed while Morsi engaged in this conduct.

         77.    Lopez knew that there was no need for Morsi to spray any of the Plaintiffs with OC

spray.

         78.    Lopez’s failure to intervene and protect Plaintiffs from Morsi spraying them with

OC spray was in violation of Plaintiffs’ Fourth and/or Fourteenth Amendment rights. Therefore,

Lopez is liable to Plaintiffs pursuant to 42 U.S.C. § 1983.

                                           COUNT IV
                             Plaintiffs Against Morsi and Lopez For
                                     UNLAWFUL SEIZURE

         79.    Plaintiffs hereby incorporate and reallege paragraphs one (1) through sixty-four

(64) hereat as though fully set forth at this place.

         80.    By reason of Defendant’s conduct, Plaintiffs were deprived of rights, privileges

and immunities secured to them by the Fourth and/or Fourteenth Amendments of the

Constitution of the United States and laws enacted thereunder.

         81.    The Defendants’ initial detention/seizure of Plaintiffs was in violation of

Plaintiffs’ Constitutional Rights and not authorized by law. Defendants seized Plaintiffs when

they would not allow Plaintiff’s vehicle to move, requested Plaintiff Brown’s driver’s license,

attempted to open the door to Plaintiffs’ vehicle, and/or pointed their service weapons at

plaintiffs. Defendants did not have legal cause to initiate this seizure of Plaintiffs. These acts




                                                                                                     11
    Case: 1:15-cv-04127 Document #: 36 Filed: 05/24/16 Page 12 of 17 PageID #:70




were in violation of Plaintiffs’ Fourth and/or Fourteenth Amendment rights. Therefore,

Defendants are liable to Plaintiffs pursuant to 42 U.S.C. § 1983



                                      COUNT V
Plaintiff BROWN Against Morsi, Lopez, Vanna, Hickey, Hill, Daisy, Navia, McMahon, Ho,
 Chevelier, Blahusiak, Moore-Grose, Sullivan, Neely, Durham, J. Brown, Greer, Blas, and
                               The City of Chicago For
                            MALICIOUS PROSECUTION

        82.     Plaintiff hereby incorporates and realleges paragraphs one (1) through sixty-four

(64) hereat as though fully alleged at this place

        83.     Defendants, who were Police Officers, Detectives, and Sergeants employed by the

City of Chicago, maliciously commenced and caused to be continued multiple criminal charges

against Brown. These charges included attempted murder, causing great bodily harm and

resisting arrest.

        84.     Defendants initiated, facilitated, and/or continued this malicious prosecution by

giving false police reports, and/or preparing and/or signing a false criminal complaints for the

purpose of causing the initiation or continuation of the criminal prosecution of Brown.

        85.     The criminal proceedings On October 15, 2015, terminated in Plaintiff’s favor

when she was found not guilty of two counts of attempted murder, and not guilty of two counts of

causing great bodily harm to Morsi.

        86.     The criminal proceedings on On October 22, 2015, terminated in Brown’s favor

when she was found not guilty of resisting arrest.

        87.     As a result of being prosecuted for these crimes Brown was injured emotionally,

financially, and otherwise.




                                                                                                    12
    Case: 1:15-cv-04127 Document #: 36 Filed: 05/24/16 Page 13 of 17 PageID #:71




        88.     The City of Chicago is liable to Plaintiff for the acts of Morsi, Lopez, Vanna,

Hickey, Hill, Daisy, Navia, McMahon, Ho, Chevelier, Blahusiak, Moore-Grose, Sullivan, Neely,

Durham, J. Brown, Greer, and Blas pursuant to the doctrine of respondeat superior.

        89.     Therefore, Morsi, Lopez, Vanna, Hickey, Hill, Daisy, Navia, McMahon, Ho,

Chevelier, Blahusiak, Moore-Grose, Sullivan, Neely, Durham, J. Brown, Greer, Blas and the

City of Chicago are liable under the supplemental state law claim of Malicious Prosecution.

                                          COUNT VI
              Plaintiffs G.B. and T.B. Against Morsi and The City of Chicago For
                            WILLFUL AND WANTON CONDUCT


        90.     Plaintiffs hereby incorporate and reallege paragraphs one (1) through sixty-four

(64) hereat as though fully set forth at this place.

        91.     Morsi exhibited reckless disregard for the safety of G.B. and T.B. This conduct

included intentionally striking Plaintiffs’ vehicle with a police squad car, and then spraying them

with OC spray.

        92.     Morsi’s conduct caused harm to plaintiffs including, but not limited to, emotional

distress.

        93.     The City of Chicago is liable to Plaintiffs for the acts of Morsi pursuant to the

doctrine of respondeat superior.

        94.     Therefore, Morsi and the City of Chicago are liable under the supplemental state

law claim of willful and wanton conduct.




                                                                                                    13
    Case: 1:15-cv-04127 Document #: 36 Filed: 05/24/16 Page 14 of 17 PageID #:72




                                             COUNT VII
                              Plaintiffs Against The City of Chicago For
                                        MONELL LIABILITY

        95.      Plaintiffs incorporate and reallege paragraphs one (1) through sixty-four (64)

hereat as though fully set forth at this place.

        96.      The misconduct of the Chicago Police Department Sergeants, Detectives, and Police

Officers described above was undertaken pursuant to the practice of the Chicago Police Department

in that as a matter of practice, the Chicago Police Department encourages the very type of

misconduct at issue here by failing to adequately train, supervise and control its officers, such that

its failure to do so manifests deliberate indifference.

        97.      As a matter of practice, the Chicago Police Department facilitates the type of

misconduct at issue by failing to adequately punish and discipline prior instances of similar

misconduct, thereby leading Chicago Police Officers to believe their actions will never be

scrutinized and, in that way, directly encouraging future abuses such as those affecting Plaintiffs.

Specifically, Chicago Police officers accused of civil rights violations can be confident that neither

the Independent Police Review Authority nor Internal Affairs will reasonably investigate those

accusations, and will refuse to recommend discipline even where the Officer has violated the civil

rights of citizens.

        98.      The Chicago Police Department has a widespread “code of silence” wherein police

officers will not report misconduct committed by fellow officers.

        99.        Municipal policy-makers are aware of, and condone and facilitate by their inaction,

a “code of silence” in the Chicago Police Department. For example, on December 8, 2015, Rahm

Emanuel, Mayor of the City of Chicago, stated publically that Chicago Police officers maintain this

code of silence.




                                                                                                         14
    Case: 1:15-cv-04127 Document #: 36 Filed: 05/24/16 Page 15 of 17 PageID #:73




         100.   On December 8, 2015 Mayor Emanuel was asked the following question and gave

the following answer during a television interview on WTTW in Chicago, Illinois:

                Question: I want to ask you point blank, is there a code of silence that exists among

                  Chicago police officers?

                Answer: The short answer is, yes.

         101.   Several of the individual defendants have had multiple citizen complaints filed

against them without the Chicago Police Department implementing any discipline against them.

         102.   Defendant Morsi has had 19 misconduct complaints filed against her without

receiving any discipline and seven of those complaints also included complaints against defendant

Lopez.

         103.   Defendant Lopez has had 21 misconduct complaints filed against him.

         104.   Defendant Hickey has had 23 misconduct complaints filed against him.

         105.   Defendant Brown has had 19 misconduct complaints filed against him.

         106.   Generally, as a matter of widespread practice so prevalent as to comprise municipal

policy, officers of the Chicago Police Department abuse citizens in a manner similar to that alleged

herein on a frequent basis, yet the Chicago Police Department makes findings of wrongdoing in a

disproportionately small number of cases.

         107.   The City of Chicago has failed to act to remedy the patterns of abuse described in

the preceding paragraphs, despite actual knowledge of the same, thereby causing the types of

injuries alleged here.

         108.   As a matter of express policy, the City of Chicago refuses to take into consideration

patterns of allegations of civil rights violations when evaluating the merits of any particular

complaint. In other words, if a police officer is accused of the same kind of misconduct multiple




                                                                                                     15
    Case: 1:15-cv-04127 Document #: 36 Filed: 05/24/16 Page 16 of 17 PageID #:74




times within the seven year retention period, IPRA will not consider those allegations if they are

deemed unsustained.

        109.    Plaintiff alleges that these customs, policies and practices, described above, were

the moving force behind the violations of the Plaintiffs’ rights. Based upon the principles set

forth in Monell v. New York City Department of Social Services, the City of Chicago is liable

for all the harm done to Plaintiffs as set forth above.



                                  COUNT VIII
                  INDEMNIFICATION PURSUANT TO 745 ILCS 10/9-102
                      AGAINST DEFENDANT CITY OF CHICAGO

        110.    Plaintiffs re-allege and incorporate the allegations of paragraphs 1 through 109

hereat as though fully set forth at this place.

        111.    The acts of the Defendants were committed in the scope of their employment with

the Defendant City of Chicago.

        112.    Pursuant to the Illinois Tort Immunity Act, 745 ILCS 10/9-402, Defendant City of

Chicago is liable for any judgments for compensatory damages in this case arising from the

actions of the Defendant Police Officers.



        WHEREFORE, the Plaintiffs, by and through their attorneys, ED FOX & ASSOCIATES,

requests judgment as follows against the Defendants, and each of them:

        1.      That the Defendants be required to pay Plaintiffs’ general damages, including
                emotional distress, in a sum to be ascertained;

        2.      That the Defendants be required to pay Plaintiffs’ special damages;

        3.      That the Defendants be required to pay Plaintiffs’ attorneys fees pursuant to Section
                1988 of Title 42 of the United States Code, the Equal Access to Justice Act or any
                other applicable provision;



                                                                                                     16
Case: 1:15-cv-04127 Document #: 36 Filed: 05/24/16 Page 17 of 17 PageID #:75




  4.     That the Defendants other than the City of Chicago be required to pay punitive and
         exemplary damages in a sum to be ascertained;


  5.     That the Defendants be required to pay Plaintiffs’ costs of the suit herein incurred;
         and

  6.     That Plaintiffs have such other and further relief as this Court may deem just and
         proper.


                                       BY:     s/Garrett Browne

                                               ED FOX & ASSOCIATES
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                                               Chicago, Illinois 60606
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                                               gbrowne@efox-law.com




             PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

                                       BY:     s/Garrett Browne

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